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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


FRACTUS, S.A.,                                   §
                                                 §
              Plaintiff,                         §
                                                 §
v.                                               §   CIVIL ACTION NO. 2:18-CV-00135-JRG
                                                 §              LEAD CASE
AT&T MOBILITY LLC,                               §
                                                 §
          Defendant,                             §
T-MOBILE US, INC., T-MOBILE USA,                 §
INC.,                                            §   CIVIL ACTION NO. 2:18-CV-00137-JRG
                                                 §             MEMBER CASE
          Defendants,                            §
CELLCO PARTNERSHIP D/B/A                         §
VERIZON WIRELESS,                                §   CIVIL ACTION NO. 2:18-CV-00138-JRG
                                                 §             MEMBER CASE
         Defendants,                             §
COMMSCOPE TECHNOLOGIES LLC,                      §
                                                 §
              Intervenor-Defendant,              §
                                                 §
T-MOBILE US, INC., T-MOBILE USA,                 §   CIVIL ACTION NO. 2:19-CV-00255-JRG
INC., CELLCO PARTNERSHIP D/B/A                   §             MEMBER CASE
VERIZON WIRELESS,                                §
                                                 §
              Defendants,                        §
                                                 §


              ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE

        The Court held a Second Pretrial Conference in the above-captioned case on September

 19, 2019, regarding pretrial motions and motions in limine (“MIL”) filed by Plaintiff Fractus, S.A.

 (“Fractus”); Defendants T-Mobile US, Inc. and T-Mobile USA Inc. (collectively, “T-Mobile”);

 Defendant Cellco Partnership d/b/a Verizon Wireless (“Verizon”); and Intervenor-Defendant

 CommScope Technologies LLC (“CommScope”). This Order summarizes and memorializes the
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 Court’s rulings and reasons therefor on the aforementioned motions as announced into the record,

 including additional instructions that were given to the Parties. This Order in no way limits or

 constrains the Court’s rulings as announced into the record from the bench. Accordingly, it is

 hereby ORDERED as follows:

                                      PRETRIAL MOTIONS

   I.   Fractus’s Notice and Unopposed Motion Regarding Use of Interpreter at Trial (Dkt.
        No. 655)
        This motion is GRANTED-IN-PART and DENIED-IN-PART. The motion is

 GRANTED as to Fractus’s request to use Gilbert Urbina Jr. as a translator at trial. (Dkt. No. 676

 at 7:23.) The motion is DENIED as to Fractus’s request that time used examining a witness via

 translation be charged at one-half. (Id. at 7:24–8:3.)

  II.   Fractus’s Motion to Dismiss Unasserted Claims for Lack of Subject Matter
        Jurisdiction (Dkt. No. 661)
        The Court sua sponte expedited briefing on this motion. (Dkt. No. 676 at 100:7–11.)

 Defendants’ response is due by Tuesday, September 24, 2019; Fractus’s reply is due by Friday,

 September 27, 2019; and Defendants’ sur-reply is due by Monday, September 30, 2019. (Id. at

 100:12–15.) The Court CARRIED the motion. (Id. at 100:16–22.)

 III.   Fractus’s Motion for Partial Summary Judgment of Validity of Asserted Claims over
        Kathrein 741 Series Antennas (Dkt. No. 357)
        This motion is DENIED. (Dkt. No. 676 at 18:22–19:1.)

 IV.    T-Mobile and Verizon’s Motion for Summary Judgment of Invalidity of Claim 1 of
        U.S. Patent No. 6,937,191 (Dkt. No. 350)
        This motion is DENIED-AS-MOOT in light of the stipulation agreed between the parties.

 (Dkt. No. 676 at 99:2–6; Dkt. No. 667 ¶¶ 12–13.)

  V.    Parties’ Dispute Regarding “Configured To” and Related Terms (Dkt. No. 640)
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        In light of the parties’ stipulation with respect to the identified terms, the Court determined

 that there was no dispute requiring resolution under 02 Micro Int’l Ltd. v. Beyond Innovation Tech.

 Co., 521 F.3d 1351 (Fed. Cir. 2008). (Dkt. No. 676 at 99:2–6; Dkt. No. 667 ¶ 20.)

 VI.    T-Mobile and Verizon’s Motion for Summary Judgment of No Pre-Suit Damages
        (Dkt. No. 347)
        This motion is DENIED. (Dkt. No. 676 at 42:4–20.)

VII.    CommScope’s Motion to Serve a Supplemental Report of Dr. Kakaes (Dkt. No. 659)
        This motion is DENIED. (Dkt. No. 676 at 51:17–52:19.)

                                      MOTIONS IN LIMINE

   I.   Joint Motions in Limine (Dkt. Nos. 560, 613.)
        The following joint motions in limine are GRANTED. (Dkt. No. 676 at 53:9–65:3.)

        Joint MIL No. 1: No evidence or argument regarding pre-suit knowledge of Fractus or

 Fractus patents.

        Joint MIL No. 2: No evidence or argument regarding absence of antenna suppliers.

        Joint MIL No. 3: No evidence or argument regarding the costs of defense.

        Joint MIL No. 4: No evidence or argument regarding Fractus litigation funding.

        Joint MIL No. 5: No evidence or argument that the terms “similar” or “substantially

 similar” are indefinite.

        Joint MIL No. 6: No evidence or argument regarding the fairness of the legal system.

        Joint MIL No. 7: No evidence or argument regarding any party’s use or potential use of

 jury studies or consultants.

        Joint MIL No. 8: No evidence or argument regarding whether or not any party obtained or

 could have obtained opinions of counsel.
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        Joint MIL No. 9: Plaintiff shall not offer evidence, argument, or suggestion that willfulness

 can be imputed to any Defendant or Defendant-Intervenor based upon the conduct of another party

 or non-party.

        Joint MIL No. 10: The Parties shall not introduce any evidence, argument, or suggestion

 regarding the amount of judgment in the Samsung litigation. The Parties shall also not introduce

 any evidence, argument, or suggestion regarding the finding of willfulness in the Samsung

 litigation, Fractus, S.A. v. Samsung Electroncs. Co., No. 6:09-cv-203 (E.D. Tex.).

        Joint MIL No. 11: In the T-Mobile case (No. 2:18-cv-137), Plaintiff shall not introduce any

 evidence, argument, or suggestion regarding any experts not retained by T-Mobile.

        Joint MIL No. 12: In the Verizon case (No. 2:18-cv-138), Plaintiff shall not introduce any

 evidence, argument, or suggestion regarding any experts not retained by Verizon.

        Joint MIL No. 13: The Parties shall not reference the results or proceedings of the

 CommScope trial (No. 2:19-cv-255) in the subsequent Verizon trial (No. 2:18-cv-138) or in the

 subsequent T-Mobile trial (No. 2:18-cv-137). The Parties further shall not reference the results or

 proceedings of the Verizon trial (No. 2:18-cv-138) or the T-Mobile trial (No. 2:18-cv-137) in any

 subsequent trial, whichever trial may occur first. Nothing from the previous trials shall be useable

 or admissible in the subsequent trials before the jury by any Party.

        Joint MIL No. 14: No Party shall introduce any evidence, argument, or suggestion

 regarding representation of any client by any attorneys or law firms of record, other than clients

 that are a party to the -137, -138, or -255 cases.

        Joint MIL No. 15: The Parties shall not reference in opening statements any exhibits or

 deposition testimony that has not been pre-admitted.
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     II.   Fractus’s Disputed Motions in Limine (Dkt. Nos. 565, 566, 567) 1
           Fractus’s MIL No. 1: Preclude invalidity expert Anthony Acampora and Verizon’s

 invalidity expert James Proctor from offering opinions about the declaration of Claude Royer.

           This motion in limine is GRANTED. (Dkt. No. 676 at 57:21–22.) However, the Court

 clarified that if Fractus opens the door by using or referencing Mr. Royer’s declaration, Defendants

 may approach and seek leave to respond accordingly. (Id. at 57:22–58:2.)

           Fractus’s MIL No. 2: Preclude all evidence or argument of Sprint’s dismissal.

           This motion in limine is DENIED. (Id. at 64:18–19.) However, the Court cautioned

 Defendants that they may not rely upon the Sprint dismissal except to the extent it is laid out in

 Defendants’ expert’s report. (Id. at 64:20–65:1.)

           Fractus’s MIL No. 3: Preclude Defendant-Intervenor CommScope from offering testimony

 and argument that contradicts the testimony of CommScope’s 30(b)(6) witness, Martin

 Zimmerman, regarding spacing of the elements in the CommScope accused products.

           This motion in limine is DENIED. (Id. at 148:25–149:4.)

           Fractus’s MIL No. 4: Preclude evidence, argument and questions suggesting that Fractus’s

 infringement expert, Dr. Stuart Long, changed his infringement analysis in response to the

 declaration submitted by CommScope’s expert witness after the close of fact and expert discovery.

           This motion in limine is GRANTED. (Id. at 149:5–21.)

           Fractus’s MIL No. 5: Preclude evidence, argument and questions suggesting that a

 “wideband” or “broadband” antenna that covers a range that includes multiple frequency bands is

 not a “multiband antenna.”



 1
  Unless otherwise indicated, all references are to Fractus’s MILs as set forth in Dkt. No. 565.
 The Court’s rulings apply equally to Fractus’s MILs (Dkt. Nos. 566, 567) consolidated for
 argument therewith.
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          This motion in limine is GRANTED except to the extent such opinions are set forth in

 experts’ reports. (Id. at 95:9–19.) However, the Court reiterated its prior order that no party may

 attack the analysis, reasoning, or holdings of the Court’s Claim Construction Order. (Id. at 80:13–

 24; see also Dkt. No. 273 at 67.) The Court will prevent any witness, including an expert, from

 violating this order. (Dkt. No. 676 at 80:24–81:3.)

          Fractus’s MIL No. 6: Preclude any use of testimony by Dr. Dwight Jaggard and Dr. Warren

 Stutzman, Fractus’s expert witnesses in the prior Samsung litigation.

          This motion in limine is GRANTED except to the extent such opinions are set forth in

 experts’ reports. (Id. at 95:20–96:21.)

          Fractus’s MIL No. 7: Preclude any evidence, argument or questions suggesting that in order

 to prove infringement, it must establish that the accused products are actually used to cover more

 than one frequency band.

          This motion in limine is WITHDRAWN. 2 (Id. at 102:16–103:8.)

          Fractus’s MIL No. 8: Preclude evidence and argument that Defendants use certain accused

 products to cover only one band.

          This motion in limine is WITHDRAWN. 3 (Id. at 98:12–15.)

          Fractus’s MIL No. 9: Preclude evidence and argument regarding any challenge to the

 European counterparts to the patents-in-suit and proceedings before the European Patent Office.

          This motion in limine is GRANTED. (Id. at 107:10–12.) Defendants may approach and

 seek leave to impeach a witness with a specific admission against interest. (Id. at 107:13–22.)




 2
  CommScope’s MIL No. 11 (Dkt. No. 562) and T-Mobile’s MIL No. 11 (Dkt. No. 561) are also
 WITHDRAWN. (Dkt. No. 676 at 103:19–104:6.)
 3
     Verizon’s related MIL No. 14 (Dkt. No. 559) is also WITHDRAWN.
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        Fractus’s MIL No. 10: Preclude Fractus claim charts or claim analyses other than those

 offered in this litigation, including those from prior cases.

        This motion in limine is GRANTED except to the extent such opinions are set forth in

 experts’ reports. (Id. at 96:22–97:4.)

        Fractus’s MIL No. 11: Preclude introduction of any Fractus document or other evidence

 suggesting that 1710-2180 MHz cannot include more than one frequency band.

        This motion in limine is GRANTED except to the extent such opinions are set forth in

 experts’ reports. (Id. at 97:5–10.)

        Fractus’s MIL No. 12: Preclude evidence and argument that Fractus delayed in filing the

 pending lawsuits.

        This motion in limine is GRANTED. (Id. at 111:1–12.)

        Fractus’s MIL No. 13: Preclude evidence and argument suggesting that Fractus’s licensee,

 Siemens, sold or offered for sale unmarked products in the United States.

        This motion in limine is WITHDRAWN. (Id. at 116:1–22.)

        Fractus’s MIL No. 14: Preclude evidence and argument of any alleged failure to mark

 products that practice the patents in the United States prior to July 2014.

        This motion in limine is DENIED. (Id. at 116:23–117:2.)

        Fractus’s MIL No. 15: Preclude evidence, argument or suggestion that certain

 configurations of the claimed antenna arrays are not within the scope of the asserted claims because

 they are not expressly disclosed as embodiments or shown in the drawing of the patents-in-suit.

        This motion in limine is GRANTED. (Id. at 122:18–123:11.) This does not prevent

 Defendants from relying on the specification to present a written description defense. (Id. at

 124:12–20.)
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         Fractus’s MIL No. 16: Preclude references to the fact that any claim, product, patent, or

 prior art reference was previously asserted or accused and has been dropped from this or any prior

 case.

         This motion in limine is GRANTED. (Id. at 129:4–9.)

         Fractus’s MIL No. 17: Preclude Defendants from presenting evidence or argument

 suggesting that an award of damages may drive up the price of products to end customers, cause

 people to lose jobs, or have other similar economic consequences.

         This motion in limine is GRANTED except that Defendants may present evidence or

 argument that the royalties opined upon by Plaintiff’s damages expert would meet or exceed the

 existing profit margins of the accused products. (Id. at 132:5–11.)

         Fractus’s MIL No. 18: Preclude argument and evidence relating to Defendants’ patents,

 particularly those having to do with base station antennas.

         This motion in limine is GRANTED. Defendants may refer to the fact that they are

 innovative companies that own patents but may not indicate that a Defendant is the owner of an

 elected prior art reference. (Id. at 140:4–14.)

         Fractus’s MIL No. 19: Preclude argument and evidence regarding ongoing Inter Partes

 Review (“IPR”) proceedings.

         This motion in limine is WITHDRAWN. (Id. at 140:18–21.)

 III.    Defendants’ Disputed Motions in Limine (Dkt. Nos. 559, 561, 562.) 4
         CommScope’s MIL No. 1: Exclude any discussion of alleged infringement by AT&T.




 4
  Unless otherwise indicated, all references are to CommScope’s MILs (Dkt. No. 562). The
 Court’s rulings apply equally to T-Mobile’s MILs (Dkt. No. 561) and Verizon’s MILs (Dkt. No.
 559) consolidated for argument therewith.
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         This motion in limine is GRANTED. (Dkt. No. 676 at 153:1–16.) This does not preclude

 Fractus from presenting evidence that CommScope is liable for infringement because it sold

 products to AT&T Mobility LLC (“AT&T”), but Fractus may not focus on AT&T’s conduct. (Id.

 at 154:9–155:2.)

         CommScope’s MIL No. 2: Exclude arguments or expert testimony outside the context of

 the experts’ Rule 26 reports.

         This motion in limine is DENIED as duplicative of the Federal Rules of Civil Procedure.

 (Id. at 155:20–156:10.)

         CommScope’s MIL No. 3: Exclude evidence, argument, or suggestion of any of AT&T’s,

 T-Mobile’s, Verizon’s, CommScope’s and any antenna vendor’s overall revenues, total value, or

 net worth, or reference to prices end users pay for cell phone service, or the total amount paid to

 AT&T, T-Mobile and/or Verizon by its wireless subscribers, the carrier defendants’ spectrum

 spend, or the total revenues or profits received by CommScope associated with antennas.

         This motion in limine is GRANTED except to the extent such an opinion is set forth in an

 expert’s report. (Id. at 163:7–14.)

         CommScope’s MIL No. 4: Exclude evidence, argument, or suggestion of copying or theft

 by Defendants, or any argument or suggestion that willfulness can be imputed by the conduct of a

 third party.

         This motion in limine is GRANTED. (Id. at 168:9–19.) However, Fractus is not precluded

 from referring to the Defendants as trespassers on Fractus’s patents. (Id. at 168:13–15.)

         CommScope’s MIL No. 5: Exclude evidence, argument, or suggestion that Fractus’

 business failures were caused by AT&T, T-Mobile, Verizon or CommScope.

         This motion in limine is DENIED. (Id. at 173:19–22.)
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         CommScope’s MIL No. 6: Exclude any comparison of carrier Defendants’ networks for

 purposes of proving infringement.

         This motion in limine is DENIED. (Id. at 186:25.) This denial is without prejudice to its

 re-urging in Case No. 2:18-cv-137. (Id. at 188:9–24.)

         CommScope’s MIL No. 7: Exclude evidence, argument, or suggestion that any handset

 manufacturer placed value on a license to the asserted patents, and exclude evidence, argument, or

 suggestion that any handset manufacturer has taken a license to the patents at issue in this case, as

 opposed to a license to the entire Fractus patent portfolio.

         This motion in limine is DENIED. (Id. at 191:17.)

         CommScope’s MIL No. 8: Exclude evidence, argument, or suggestion of verdicts in other

 litigation.

         This motion in limine is GRANTED. (Id. at 177:14–15.) Fractus has leave to tell its story

 regarding its financial condition in the manner represented to the Court but must approach and

 seek leave before going beyond the same. (Id. at 177:2–20.)

         CommScope’s MIL No. 9: Exclude evidence, argument, or suggestion that Fractus

 conceived of the claimed invention prior to October 1998 unless Defendants open the door by

 asserting prior art that Fractus can swear behind.

         This motion in limine is WITHDRAWN. (Id. at 191:19–24.)

         CommScope’s MIL No. 10: Exclude evidence, argument, or suggestion regarding expert

 witnesses who are not called at trial, or expert analyses conducted by experts for parties not in this

 case.

         This motion in limine is GRANTED. (Id. at 204:8–19.)
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        CommScope’s MIL No. 12: Exclude characterization of the burden of proof for the “clear

 and convincing” standard.

        This motion in limine is DENIED-AS-MOOT. (Id. at 212:9.)

        CommScope’s MIL No. 13: Exclude evidence, argument, or suggestion that Fractus’

 awards, commercial success, long-felt need, or other secondary considerations of non-obviousness

 have a nexus to asserted patents.

        This motion in limine is DENIED. (Id. at 215:18–19.)

        CommScope’s MIL No. 14: No evidence, argument, or suggestion relating to discovery

 disputes with Defendants.

        This motion in limine is GRANTED. (Id. at 219:23–220:2.)

        CommScope’s MIL No. 15: No mention of any expert witness’s “win/loss” record,

 retention of any expert by a party or its counsel in other matters, how often juries agreed with any

 expert in other matters, or any expert’s work or payment by a party or its counsel in other matters.

        This motion in limine is GRANTED-BY-AGREEMENT of the parties. (Id. at 221:13–

 222:17.) However, the parties have leave to inquire as to how many times an expert may have been

 retained or worked for a party in this case and the terms of their consideration for testifying as an

 expert. (Id. at 222:5–17.)

        CommScope’s MIL No. 16: No reference to the presumption of validity at trial.

        This motion in limine is DENIED-AS-MOOT by the agreement of the parties. (Id. at

 222:18–223:3.)

        CommScope’s MIL No. 17: Preclude reference to indemnifications of CommScope

 customers.
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         This motion in limine is GRANTED-IN-PART and DENIED-IN-PART. The motion is

 DENIED to the extent indemnification agreements may be referenced as evidence of damages or

 the bias of a witness. (Id. 240:13–21.) The motion is otherwise GRANTED. (Id. at 240:22–23.)

         Verizon’s MIL No. 3: Exclude any evidence, argument, or suggestion regarding the Court’s

 claim construction order other than the constructions themselves, including any reference to the

 parties’ positions, the Court’s rationale, and arguments inconsistent with the Court’s claim

 construction.

         This motion in limine is DENIED as duplicative of the Court’s Claim Construction Order.

 (Id. at 156:14–157:6.)

         Verizon’s MIL No. 7: Exclude any discussion of the other carriers, other cases, or previous

 trials or verdicts.

         This motion in limine is GRANTED. (Id. at 179:9–16.)

         Verizon’s MIL No. 12:      Exclude evidence, argument, or suggestion concerning the

 revenues or profits from products that are not accused products in this case.

         This motion in limine is GRANTED-AS-MODIFIED to exclude evidence or argument

 concerning revenues or profits from products of the Defendants that are not accused products in

 this case. (Id. at 166:19–22.)

         Verizon’s MIL No. 13: Exclude any testimony by any Fractus expert witness about the

 interpretation and meaning of information in Verizon’s ATOLL database.

         This motion in limine is DENIED. (Id. at 209:2–5.)

         Verizon’s MIL No. 15: Exclude any discussion in opening arguments of evidence that has

 not been admitted into the case, including the operation of Verizon’s antennas.
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        This motion in limine is resolved by Joint MIL No. 15, and therefore DENIED-AS-

 MOOT. (Id. at 209:15–22.)

        Verizon’s MIL No. 16: Exclude discussion or introduction of exhibits not produced during

 discovery.

        This motion in limine is DENIED. (Id. at 211:22.)

        So Ordered this
        Sep 30, 2019
